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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


                                                                    Chapter 11
In re
                                                                    Case No.: 19-23013 (RDD)
53 STANHOPE LLC, et al.,1                                           (Jointly Administered)
                                  Debtors.


     DECLARATION OF MATTHEW B. STEIN IN SUPPORT OF OBJECTION OF
    BROOKLYN LENDER LLC TO 53 STANHOPE DEBTORS’ PROPOSED SALE OF
                      REAL PROPERTY ASSETS


        1.       I am a member of the law firm Kasowitz Benson Torres LLP, attorneys for

Brooklyn Lender LLC (“Brooklyn Lender”) in the above-captioned chapter 11 cases. I

respectfully submit this Declaration in Support of the Objection of Brooklyn Lender LLC to 53

Stanhope Debtors’ Proposed Sale of Real Property Assets, filed contemporaneously herewith.

        2.       Attached hereto as Exhibit A is a true and correct copy of a transcript of the

November 2, 2021 status conference before this Court.

        3.       Attached hereto as Exhibit B is a true and correct copy of the Court’s January 4,

2022 email responding to Jennifer Recine’s January 3, 2022 letter to the Court.

        4.       Attached hereto as Exhibit C is a true and correct copy of a January 4, 2022 email

from Greg Corbin to representatives of Brooklyn Lender.




1
        The Debtors in these chapter 11 cases and the last four digits of each Debtor’s taxpayer identification
number are as follows: 53 Stanhope LLC (4645); 55 Stanhope LLC (4070); 119 Rogers LLC (1877); 127 Rogers
LLC (3901); 325 Franklin LLC (5913); 618 Lafayette LLC (5851); C & YSW, LLC (2474); Natzliach LLC (8821);
92 South 4th St LLC (2570); 834 Metropolitan Avenue LLC (7514); 1125-1133 Greene Ave LLC (0095); APC
Holding 1 LLC (0290); D & W Real Estate Spring LLC (4591); Meserole and Lorimer LLC (8197); 106 Kingston
LLC (2673); Eighteen Homes LLC (8947); 1213 Jefferson LLC (4704); 167 Hart LLC (1155).
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       5.      Attached hereto as Exhibit D is a true and correct copy of a transcript of April 12,

2021 hearing before this Court.

Dated: January 18, 2022

                                                                    /s/ Matthew B. Stein
                                                                     Matthew B. Stein




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